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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

AMYRIS, INC., et al.,                                                  Case No. 23-11131 (TMH)

                                      Debtors. 1                       (Jointly Administered)


                 AD HOC NOTEHOLDER GROUP’S WITNESS AND EXHIBIT
                 LIST FOR HEARING ON JANUARY 24, 2024 AT 10:00 A.M. ET

          The ad hoc group of holders of the 1.5% Convertible Senior Notes due 2026 (the “Ad Hoc

Noteholder Group”) in the chapter 11 cases of the above captioned debtors and debtors in

possession (the “Debtors”) submit this witness list for the hearing scheduled for January 24, 2024

at 10:00 a.m. (ET) (the “Hearing”) before the Honorable Thomas M. Horan, at the United States

Bankruptcy Court for the District of Delaware, located at 824 N. Market Street, 3rd Floor,

Wilmington, Delaware 19801.

                                                     WITNESSES

          The Ad Hoc Noteholder Group does not designate any persons as a witness who may be

called at the Hearing, but cross-designates all witnesses designated by any other party in

connection with the Hearing and reserve the right to call any necessary rebuttal or impeachment

witnesses.




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    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal place
    of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100, Emeryville,
    CA 94608.
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                                             EXHIBITS

        The Ad Hoc Noteholder Group designates the following exhibits below that may be used

at the Hearing:

 Exhibit                                                                                   Docket
           Document Description
  No.                                                                                       No.
        1. Declaration of Frank Merola in Support of Confirmation of Third
                                                                                             1178
           Amended Joint Chapter 11 Plan of Reorganization

        The Ad Hoc Noteholder Group also cross-designates all exhibits designated by any other

party in connection with the Hearing and reserve the right to use additional exhibits for rebuttal or

impeachment purposes.

        The Ad Hoc Noteholder Group reserves the right to amend or supplement this witness and

exhibit list prior to the Hearing.



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Dated: January 22, 2024                    BLANK ROME LLP
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